Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 1 of 29

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

ASHLEY HICKS, et al.,
Plaintiffs, DECISION AND ORDER

13-CV-06455 EA W
V.

T.L. CANNON MANAGEMENT CORP
WEST LLC, TLC CENTRAL LLC, TLC
NORTH LLC, MATTHEW J. FAIRBAIRN,
JOHN A. PERRY, T.L. CANNON CORP., and
DAVID A. STEIN,

°3

 
  

      

MAR 132018
\%
, G

So oe Try
STS RENGL OS S

Defendants. ERN DISTRIC!

 

INTRODUCTION

Plaintiffs commenced this action on September 23, 2012, alleging violations of the
New York Labor Law (“NYLL”) and the Fair Labor Standards Act (“FLSA”), 29 U.S.C.
§§ 201 et seq., related to Defendants’ alleged failure to pay minimum wages to Plaintiffs.
(Dkt. 82). Currently before the Court are the parties’ competing motions for partial
summary judgment (Dkts. 281, 285) related to two claims: (1) Plaintiffs’ claim that
Defendants did not comply with the New York State requirements related to information
that must be provided on a pay stub where the employer takes a tip credit (the “Pay
Statement Claims”); and (2) Plaintiffs’ claim that after January 1, 2011, Defendants failed
to comply with the provisions of the New York State Wage Order for the Hospitality
Industry (“the Wage Order’) (12 N.Y.C.R.R. Part 146) requiring them to provide certain
notices to employees before taking a tip credit (the “Wage Notice Claims”). For the

-l-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 2 of 29

reasons discussed below, both motions are denied. However, the Court amends it prior
determination concerning the availability of an affirmative defense to Defendants under
NYLL § 198, but declines to grant summary judgment in favor of Defendants on that
defense due to outstanding issues of disputed facts.

FACTUAL BACKGROUND

The factual background of this case is set forth in detail in this Court’s Decision
and Order entered August 5, 2014 (Dkt. 205) (the “August 5th Decision and Order”),
familiarity with which is presumed for purposes of this Decision and Order. In the
August 5th Decision and Order, the Court granted Plaintiffs’ motion for class
certification, granted in part and denied in part Plaintiffs’ motion for partial summary
judgment, and denied Defendants’ motion for partial summary judgment. (Dkt. 205). In
particular, the Court granted summary judgment to named plaintiff Kristin Raymond on
her Wage Notice Claim against defendant TLC West, LLC, only, finding that Ms.
Raymond had not been provided with a compliant wage notice. (Jd. at 30). The Court
has summarized below additional facts that are relevant to the instant motions and that
are not contained in the August Sth Decision and Order.

On March 4, 2015, in response to an inquiry regarding the August Sth Decision
and Order, Pico Ben-Amotz, General Counsel to the New York Department of Labor (the
“NYDOL”) authored a letter (the “Opinion Letter”) (Dkt. 281-4 at 18-19) to the Hon.
Joseph D. Morelle, Majority Leader of the New York State Assembly, in which he
purported to “summarize the [NYDOL’s] interpretation of the intersection of the tip

credit and notice of pay rules in 12 N.Y.C.R.R. §§ 146-1.3 and 146-2.2.” Jd. at 18. The

oe
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 3 of 29

Opinion Letter states that, contrary to this Court’s prior findings, the NYDOL does not
interpret 12 N.Y.C.R.R. § 146-1.3 (“§ 146-1.3”) as requiring an employer to provide its
employees written notice of the tip credit rules in order to maintain its eligibility to take
the tip credit. Instead, according to the Opinion Letter, the position of the NYDOL is that
“a food service employer is eligible to claim the tip credit even when they fail to provide
written notice of the tip credit rules provided that the employer can demonstrate
compliance with all of the other minimum wage requirements and that their employees
understood the manner in which the employer took the tip credit.” Dkt. 281-4 at 18.

On March 21, 2015, the parties entered into a stipulation whereby they agreed to
certain facts. (Dkt. 244) (the “March 21st Stipulation”), In particular, the parties
stipulated to the contents of the pay stubs provided by Defendants from September 24,
2006, through the date of March 21st Stipulation, and to the content of certain notices
provided by Defendants from October 26, 2009, to June 1, 2011, from June 1, 2011, to
June 24, 2013, from January 1, 2012, to June 24, 2013, from June 23, 2013, to December
31, 2013, and from January 1, 2014, to the date of March 21st Stipulation. Jd. at 1-4.
United States Magistrate Judge Marian W. Payson “so ordered” the March 21st
Stipulation on March 24, 2015. (Dkt. 244 at 5).

On April 15, 2015, the parties entered into another stipulation. (Dkt. 249) (the
“April 15th Stipulation”). Pursuant to the April 15th Stipulation, Plaintiffs agreed that,
for purposes of the instant motions for summary judgment, they would not “contend
that .. . the motions should be decided because [certain] facts are not true.” (dd. at 1-2).

Those facts include: (1) Defendants prominently displayed in all their restaurants the

-3-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 4 of 29

New York State and Federal Employment Regulations for years 2006-2015 and the
Hospitality Minimum Wage Poster; (2) during the relevant time period, Plaintiffs
understood that that they were being paid the tipped minimum wage for all hours they
worked in a tipped occupation and had actual knowledge that Defendants were taking tip
credits from the minimum wage for employees working as a server, bartender, host, or
carside-to-go server; (3) during the relevant time period, Defendants had a policy to
provide their employees with verbal notice at orientation that Defendants would take a tip
credit and that tipped employees would be paid the tipped minimum wage, and that
Defendants further provided verbal notification that they had a policy to pay their tipped
employees extra if their tips were insufficient to bring the employee up to the basic
minimum hourly wage; (4) during the relevant time period, Plaintiffs were not confused
by Defendants’ wage notices and pay stubs, nor did they fail to understand the amounts
they were being paid; (5) during the relevant time period, in the rare instances where the
tips an employee earned, combined with the tipped minimum wage they were paid, did
not bring that employee’s wage up to the standard minimum wage, Defendants made up
the difference; and (6) during the relevant time period, when combining the tipped
minimum wage that they received, the tips that they earned, and any tip makeup pay
provided, Plaintiffs never earned less than the standard minimum wage. (Jd. at 1-3).
Significantly (and as discussed further below), Plaintiffs did not stipulate to the truth of
these facts and in fact expressly reserved the right to “inform the Court that they do not
believe that discovery will ultimately reveal these asserted facts to be true.” (/d. at 1).

Judge Payson “‘so ordered” the April 15th Stipulation on April 16, 2015. (dd. at 4).

-4-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 5 of 29

PROCEDURAL HISTORY

Plaintiffs filed their complaint on September 14, 2012. (Dkt. 1). With leave of the
Court, Plaintiffs filed an amended complaint on April 10, 2013, and Defendants filed an
answer to the amended complaint on May 24, 2013. (Dkt. 82, 90).

Plaintiffs filed a motion for approval of their FLSA collective action on October
18, 2013, and Defendants filed a cross-motion for approval of their proposed collective
action notice on November 15, 2013. (Dkt. 128, 134). On December 10, 2013, the Court
entered an order instructing the parties to confer and submit a jointly-approved proposed
notice of collective action. (Dkt. 139). The Court approved the final proposed notice of
collective action on December 20, 2013. (Dkt. 141).

On January 27, 2014, Plaintiffs filed a motion for class certification and a motion
for partial summary judgment as to the named plaintiffs Ashley Hicks and Kristin
Raymond, as well as certain opt-in plaintiffs. (Dkts. 143, 144). Defendants cross-moved
for partial summary judgment on March 14, 2014. (Dkt. 176). On August 5, 2014, this
Court entered the August Sth Decision and Order, granting Plaintiffs’ motion for class
certification, granting in part and denying in part Plaintiffs’ motion for partial summary
judgment, and denying Defendants’ motion for partial summary judgment. (Dkt. 205).

On September 2, 2014, Defendants filed a motion for reconsideration of portions
of the August Sth Decision and Order. (Dkt. 214) (the “Motion for Reconsideration”).
The Court denied the Motion for Reconsideration on October 8, 2014. (Dkt. 224).

On October 31, 2014, Plaintiffs filed a second motion for partial summary

Judgment. (Dkt. 228). On November 5, 2014, the Court entered a Decision and Order

-5-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 6 of 29

declining to exercise its discretion to entertain a second motion for partial summary
judgment and instructing the parties not to file any further dispositive motions prior to the
close of fact discovery without leave of the Court. (Dkt. 231).

On November 7, 2014, the Court entered an Order approving the following class
definitions: Subclass A, defined as “All current and former tipped employees who
worked for Defendants at Applebee’s between September 24, 2006 and the present”; and
Subclass B, defined as “All current and former tipped employees working for Defendants
at Applebee’s between January 1, 2011 and December 31, 2013 (but excluding those who
were hired between June 24, 2013 and December 31, 2013).” (Dkt. 233).

On June 6, 2016, in response to a request from the parties, the Court entered an
Order allowing the parties to file dispositive motions related to the Pay Statement Claims
and the Wage Notice Claims. (Dkt. 274). Defendants filed their instant motion for
partial summary judgment on October 3, 2016. (Dkt. 281). Plaintiffs filed their instant
motion for partial summary judgment on October 7, 2016. (Dkt. 285). The parties filed
responses to their opponents’ respective motions on March 1, 2017 (Dkts. 297-299), and
filed replies in further support of their own motions on March 23, 2017 (Dkts. 305-306).
Oral argument on the instant motions was held on December 14, 2017. (Dkt. 315).

DISCUSSION
I. Legal Standard

Rule 56 of the Federal Rules of Civil Procedure provides that summary judgment

should be granted if the moving party establishes “that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

-6-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 7 of 29

P. 56(a). The Court should grant summary judgment if, after considering the evidence in
the light most favorable to the nonmoving party, the court finds that no rational jury
could find in favor of that party. Scott v. Harris, 550 U.S. 372, 380 (2007) (citing
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986)). Once
the moving party has met its burden, the opposing party “‘must do more than simply
show that there is some metaphysical doubt as to the material facts. . . . [T]he nonmoving
party must come forward with specific facts showing that there is a genuine issue for
trial.” Caldarola v. Calabrese, 298 F.3d 156, 160 (2d Cir. 2002) (quoting Matsushita
Elec., 475 U.S. at 586-87) (emphasis in original). “[T]he mere existence of some alleged
factual dispute between the parties will not defeat an otherwise properly supported
motion for summary judgment. .. .” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-
48 (1986) (emphasis in original).
II. The Impact of the April 15th Stipulation

As a threshold matter, the Court must consider what impact the April 15th
Stipulation (Dkt. 249) has on the resolution of the instant motions. The April 15th
Stipulation provides that, with respect to the facts set forth therein, for the sole purpose of
the instant motions, Plaintiffs “can inform the Court that they do not believe that
discovery will ultimately reveal these asserted facts to be true and that the [asserted facts]
are not relevant to the motion{s], but will not contend that any of the motions should be
decided because such facts are not true.” (/d. at 1-2).

Defendants contend that, for purposes of the instant motions, the April 15th

Stipulation constitutes agreement to the truth of the facts contained therein by Plaintiffs.

-7-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 8 of 29

(See Dkt. 305 at 2). Plaintiffs, on the other hand, argue that, according to the plain
language of the April 15th Stipulation, they have not conceded that these facts are true
and that they have agreed only not to argue that the facts at issue are relevant to the
instant motions. (See Dkt. 297 at 8-9).

As a general rule, this Court is bound to enforce a stipulation which it has
approved. See Sinicropi v. Milone, 915 F.2d 66, 69 (2d Cir. 1990) (the court has “a “duty
to enforce the stipulation which it ha[s] approved”) (internal quotation omitted); see also
Fisher v. First Stamford Bank & Tr. Co., 751 F.2d 519, 523 (2d Cir. 1984) (“Generally, a
stipulation of fact that is fairly entered into is controlling on the parties and the court is
bound to enforce it.”). A stipulation is “treated as a contract among the parties . . . and is
subject to general principles of contract construction and interpretation.” United States v.
Assets of Revere Armored, Inc., 131 F.3d 132, 132 (2d Cir. 1997) (citations omitted).
Accordingly, where the terms of a stipulation are “clear and unambiguous,” the Court
will enforce them as written. Jd.

In this case, the Court agrees with Plaintiffs that the plain language of the April
15th Stipulation forecloses any argument that Plaintiffs have conceded the truth of the
facts set forth therein, inasmuch as Plaintiffs expressly reserved the right to “inform the
Court that they do not believe that discovery will ultimately reveal these asserted facts to
be true... .” (Dkt. 249 at 1). Instead, Plaintiffs stipulated that they would not argue that
the facts contained in the April 15th Stipulation were dispositive with respect to any of

the instant motions. Plaintiffs have not done this in their moving papers (to the contrary,
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 9 of 29

they contend that the facts at issue are wholly irrelevant to the Court’s determination),
and so the Court does not find that Plaintiffs have run afoul of the April 15th Stipulation.

The Court further notes that, while Plaintiffs may have agreed not to argue that the
facts set forth in the April 15th Stipulation should govern the outcome of the instant
motions, Plaintiffs’ lack of argument in this regard does not preclude the Court from
concluding that these facts are indeed dispositive, or that they are material to the
resolution of the relevant legal issues. “[A] court is free to disregard stipulations if
parties have spoken to the legal effect of admitted facts . . . since the court cannot be
controlled by agreement of counsel on a subsidiary question of law.” Marden v. Int'l
Ass'n of Machinists & Aerospace Workers, 576 F.2d 576, 580 (Sth Cir. 1978) (internal
quotation omitted); see also Smith-Corona Marchant Inc. v. Am. Photocopy Equip. Co.,
214 F. Supp. 348, 351 (S.D.N.Y. 1962) (“The court cannot be bound by any
understanding between the parties which amounts to an agreement to withhold relevant
information from the court. The court is concerned only with ascertaining the merits of
this motion. . . .”). As such, to the extent any of the parties contend that the April 15th
Stipulation prevents the Court from finding that certain facts are relevant to its
consideration of the instant motions, any such agreement by the parties is not binding on
this Court and is without legal effect.
If]. Plaintiffs Have Standing to Bring their Claims

Defendants argue that they are entitled to summary judgment with respect to both
the Pay Statement Claims and the Wage Notice Claims because, pursuant to the United

States Supreme Court’s decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016),

-9-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 10 of 29

Plaintiffs lack standing to bring those claims. More particularly, Defendants argue that
Spokeo stands for the proposition that “bare procedural, trivial violations, divorced from
any concrete injury, do[] not confer standing,” and that Plaintiffs have not suffered a
concrete injury because they were paid all wages due. (Dkt. 281-6 at 28).

Defendants’ argument is based on an overly broad reading of Spokeo. In that case,
the plaintiff sought to bring a class action lawsuit under the Fair Credit Reporting Act of
1970 (the “FCRA”) based on the alleged failure of the defendant, the operator of an
online “people search engine,” to maintain and disseminate accurate information. 136 S.
Ct. at 1544. The Ninth Circuit Court of Appeals held that the plaintiff had standing to
bring the claim, inasmuch as he claimed that the defendant had disseminated inaccurate
information about him, in derogation of his statutory rights. Jd. at 1545. The Supreme
Court reversed, holding that a “bare procedural violation” of the FCRA is insufficient to
confer standing, because “[a] violation of one of the FCRA’s procedural requirements
may result in no harm.” Jd. at 1550.

Contrary to Defendants’ argument, Spokeo does not stand for the proposition that
a statutory violation, standing alone, can never constitute a concrete injury. In fact, the
Court explicitly stated in the Spokeo decision that “the violation of a procedural right
granted by statute can be sufficient in some circumstances to constitute injury in fact. In
other words, a plaintiff in such a case need not allege any additional harm beyond the one
[the legislature] has identified.” Jd. at 1549 (emphasis in original); see also Strubel v.
Comenity Bank, 842 F.3d 181, 189 (2d Cir. 2016) (“We do not understand Spokeo

categorically to have precluded violations of statutorily mandated procedures from

-10-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 11 of 29

qualifying as concrete injuries supporting standing.... [S]ome violations of statutorily
mandated procedures may entail the concrete injury necessary for standing.’’).

In this case, the Court finds that violation of the procedures created by the relevant
provisions of the NYLL and the FLSA may in fact result in a concrete injury. These
statutes were drafted and enacted to protect the rights of employees such as Plaintiffs, and
their procedural provisions are specifically designed to guard against the concrete harm
that workers are subject to when they are mis- or uninformed regarding their rights and
the responsibilities of their employers. Indeed, the Court has already soundly rejected
Defendants’ argument that the issues involved in this matter are trivial or somehow
underserving of this Court’s attention. Under these circumstances, a violation of the
relevant procedural requirements is sufficient to establish standing. See Strubel, 842 F.
3d at 189 (“where [the legislature] confers a procedural right in order to protect a
concrete interest, a violation of the procedure may demonstrate a sufficient risk of real
harm to the underlying interest to establish concrete injury”) (internal quotation omitted).

IV. Intervening Changes in the Law Warrant Reconsideration of the Court’s
Earlier Decision on Defendants’ Claimed Affirmative Defense

In support of their earlier motion for partial summary judgment, Defendants
argued (albeit at oral argument, and not in their moving papers) that they were entitled to
the affirmative defense set forth in NYLL §§ 198(1-b) and (1-d) (the “§ 198 Affirmative
Defense”). The Court rejected this argument in the August Sth Decision and Order,
explaining that, by its own terms, the § 198 Affirmative Defense applied only to

violations of NYLL § 195(1)(d), which governs errors or omissions in non-English

-ll-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 12 of 29

language notices. (Dkt. 205 at 29). In the Motion for Reconsideration, Defendants
argued that the reference to § 195(1)(d) was a typographical error, and that the Court
should therefore apply the § 198 Affirmative Defense, despite the fact that it did not, on
its face, apply to Plaintiffs’ claims. (See Dkt. 214-1 at 11). The Court rejected this
argument as well, holding that, to the extent NYLL § 198 (“§ 198”) contained a
typographical error, it was the province of the legislature, and not this Court, to correct it.
(Dkt. 224 at 6-8).

In the interval between the Court’s denial of the Motion for Reconsideration and
the filing of the instant motions, the New York State legislature amended § 198. On
December 29, 2014, amendments to the New York State Wage Theft Prevention Act
were enacted and changed the reference from NYLL § 195(1)(d) to NYLL § 195(1)(a).
As a result of this intervening change in the law, Defendants contend that the Court
should revisit its prior determination that Plaintiffs’ claims are not subject to the § 198
Affirmative Defense.

The Court agrees with Defendants that this intervening change in the controlling
law warrants revisiting its prior rejection of Defendants’ assertion of the § 198
Affirmative Defense. For the reasons discussed below, the Court finds that Plaintiffs?
claims are subject to the § 198 Affirmative Defense. However, the Court further finds
that, on the current record, Defendants have failed to establish their entitlement to the

§ 198 Affirmative Defense as a matter of law.

-12-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 13 of 29

A. The § 198 Affirmative Defense Applies to Plaintiffs’ Wage Notice and
Pay Statement Claims

The current version of § 198(1-b) provides, in relevant part, as follows:

In any action or administrative proceeding to recover damages for violation
of paragraph (a) of subdivision one of section one hundred ninety-five of
this article, it shall be an affirmative defense that (i) the employer made
complete and timely payment of all wages due pursuant to this article or
article nineteen or article nineteen-A of this chapter to the employee who
was not provided notice as required by subdivision one of section one
hundred ninety-five of this article or (ii) the employer reasonably believed
in good faith that it was not required to provide the employee with notice
pursuant to subdivision one of section one hundred ninety-five of this
article.

New York Labor Law § 198(1-b). Similarly, the current version of § 198(1-d) provides,
in relevant part:

In any action or administrative proceeding to recover damages for violation
of subdivision three of section one hundred ninety-five of this article, it
shall be an affirmative defense that (i) the employer made complete and
timely payment of all wages due pursuant to this article or articles nineteen
or nineteen-A of this chapter to the employee who was not provided
statements as required by subdivision three of section one hundred ninety-
five of this article or (ii) the employer reasonably believed in good faith
that it was not required to provide the employee with statements pursuant to
paragraph (e) of subdivision one of section one hundred ninety-five of this
article.

New York Labor Law § 198(1-d).
As a threshold issue, Defendants argue, and Plaintiffs have failed to contest in
their responsive papers’, that the December 2014 amendments to the § 198 Affirmative

Defense apply retroactively. The Court agrees. Under New York law, “[w]hether a

 

l At oral argument, Plaintiffs’ counsel indicated for the first time that Plaintiffs

contest the retroactive applicability of the amendments to § 198, but did not offer any
arguments in support of that position.

-13-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 14 of 29

statute is to be applied prospectively or retroactively generally requires determination of
legislative intent. When a statute creates a new right of action, it is presumed that the
Legislature intended the statute to be applied prospectively only unless a contrary intent
clearly appears. On the other hand, statutes that are remedial in nature may be applied
retrospectively.” Duell v. Condon, 84 N.Y.2d 773, 783 (1995) (internal citations
omitted); see also In re Gleason (Michael Vee, Ltd.), 96 N.Y.2d 117, 122 (2001)
(“remedial legislation should be given retroactive effect in order to effectuate its
beneficial purpose’). “[T]he reach of the statute ultimately becomes a matter of
judgment made upon review of the legislative goal.” Duell, 84 N.Y.2d at 783.

Here, the legislative history of the amendments to the § 198 Affirmative Defense
demonstrates that they are remedial and that that the legislature intended them to have
retroactive effect. In amending § 198, the State Assembly expressly acknowledged that
the reference to § 195(1)(d) was a typographical error and that the amendments were
intended to “clarify” and “correct” the provisions relating to the § 198 Affirmative
Defense. (See Dkt. 281-4 at 26-27). The New York Court of Appeals has recognized
that retroactive application of a statutory amendment is appropriate where it is intended
to “clarify” a statute. See Matter of OnBank & Tr. Co., 90 N.Y.2d 725, 731 (1997)
(amendment applied retroactively where sponsor stated that it was intended to clarify a
statute); see also In re Gleason, 96 N.Y.2d at 122 (statutory amendments would be
applied retroactively where they were meant to “clarify what the law was always meant

to do and say”).

-14-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 15 of 29

The Court acknowledges that a Report and Recommendation (“R&R”) entered in
Marin v. Apple-Metro, Inc., No. 12-cv-5274 (ENV)(CLP) , 2017 WL 4950009 (E.D.N.Y.
October 4, 2017) reached a contrary conclusion.* The Court is not persuaded by the
analysis of this issue in the Marin R&R. The court in Marin did not consider whether the
amendments to the § 198 Affirmative Defense were remedial in nature, nor did it discuss
the legislative history of the amendments. Moreover, the cases cited in Marin for the
proposition that the amendments to the § 198 Affirmative Defense do not apply
retroactively are inapposite. In both Saucedo v. On the Spot Audio Corp., No. 16 CV
451, 2016 WL 8376837 (E.D.N.Y. Dec. 21, 2016) and Saldana v. New Start Group, Inc.,
No. 14 CV 4049, 2016 WL 3683530 (E.D.N.Y. July 5, 2016), the issue before the court
was whether amendments to the amount of liquidated damages provided for in § 198
applied retroactively. The analysis of whether an increase in the damages available under
a statute applies retroactively is fundamentally different from the issue of whether the
correction of a typographical error applies retroactively, and the Marin R&R does not
acknowledge or discuss this difference. Chen v. JP Standard Construction Corp., No.
14-CV-1086 (MKB), 2016 WL 2909966 (E.D.N.Y. Mar. 18, 2016), the third case cited in
the Marin R&R, was decided on a motion for default judgment and contains no
retroactivity analysis whatsoever. Accordingly, the Court declines to follow the holding

of the Marin R&R regarding retroactivity.

 

2 Objections to the Marin R&R are currently pending, and it has not been accepted

by the assigned district judge at this time.
-15-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 16 of 29

As noted above, Plaintiffs failed to argue in their responsive papers that the
amendments to the § 198 Affirmative Defense do not apply retroactively. They do argue
that the § 198 Affirmative Defense applies only to actions brought pursuant to NYLL
§ 195 and that their claims are brought pursuant to NYLL §§ 652 and 663. This
argument lacks merit.

As this Court explained in the August Sth Decision and Order, Plaintiffs’ Wage
Notice Claims are based on the regulatory requirements set forth in §§ 146-1.3 and
146-2.2, which require employers to notify employees of the tip credit prior to taking it.
(See Dkt. 205 at 26). These regulations were promulgated pursuant to NYLL § 199,
which vests the New York Department of Labor with the authority to “issue such rules
and regulations as [the Commissioner of Labor] determines necessary for the purposes of
carrying out the provisions of this article.” See Carvente-Avila v. Chaya Mushkah Rest.
Corp., No. 12-CV-5359 (KBF), 2016 WL 3221141, at *2 (S.D.N.Y. Mar. 1, 2016)
(noting §§ 146-1.3 and 146-2.2 were promulgated pursuant to NYLL § 199). Notably,
NYLL § 195(1)(a) is the only provision of the NYLL that sets forth a requirement that
employees be provided with a wage notice, and so the only reasonable interpretation of
§§ 146-1.3 and 146-2.2 is that the NYDOL deemed them necessary to carry out NYLL
§ 195(1)(a). See Boreali v. Axelrod, 130 A.D.2d 107, 119 (3d Dep’t 1987), aff'd, 71
N.Y.2d 1 (1987) (regulations must be reasonably related to the purposes of the enabling
legislation and must be “in harmony with the language, policy, remedial structure and
legislative history of the governing statute”). Accordingly, the Wage Notice Claims

arise out of NYLL § 195(1)(a).

-16-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 17 of 29

With respect to Plaintiffs’ Pay Statement Claims, in their Amended Complaint,
Plaintiffs expressly assert that these claims arise pursuant to NYLL § 195(3). See Dkt. 82
at { 18. The Court is not persuaded by Plaintiffs’ arguments that these claims, which
relate to the requirements of and expressly refer to NYLL § 195(3), somehow instead
arise under NYLL §§ 652 and 663, neither of which make any reference to information
that must be included in a pay statement. Accordingly, Plaintiffs’ argument that their
Wage Notice and Pay Statement claims arise under NYLL §§ 652 and 663 lacks merit.

In sum, and for the foregoing reasons, the Court finds that the § 198 Affirmative
Defense is applicable to Plaintiffs’ Wage Notice and Pay Statement Claims and that, if
Defendants are ultimately able to show that they otherwise paid all wages due to
Plaintiffs, they will not be liable for further damages. However, and for the reasons
discussed below, the Court further finds that it cannot hold, based on the current record,
that Defendants paid all wages due to Plaintiffs.

B. Factual Issues Preclude Summary Judgment Based on the § 198
Affirmative Defense

Plaintiffs have argued that the § 198 Affirmative Defense does not apply here
because they were not paid all of their wages due and that, as a matter of law, Defendants
cannot make such a showing. Defendants, relying on the April 15th Stipulation, contend
that they paid all wages due to Plaintiffs and that Plaintiffs were at all times paid at least
the standard minimum wage.

The Court first determines that, contrary to Plaintiffs’ argument, it is possible that

Defendants could ultimately show that they are entitled to the § 198 Affirmative Defense.

-17-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 18 of 29

Plaintiffs’ argument relies on the Court’s statement in the August 5th Decision and Order
that ““[b]y definition, if Defendants took a tip credit to which they were not entitled, they
underpaid wages.’” (Dkt. 297 at 25 (quoting Dkt. 205 at 24)). Plaintiffs have taken this
statement out of context. The Court’s statement in the August 5th Decision and Order
referred to Defendants’ argument that there had been no underpayment of wages as a
matter of law — the Court rejected this argument, explaining that, if Defendants were not
entitled to take the tip credit, they underpaid wages by definition. (Dkt. 205 at 24). The
Court’s statement was quite clear, and was premised on the legal possibility that
Defendants had taken a tip credit to which they were not entitled. However, nothing in
the Court’s decision foreclosed the possibility that Defendants could show that they were
entitled to take the tip credit, or that they had otherwise paid all wages to which Plaintiffs
were entitled. As such, to the extent that Plaintiffs argue that Defendants are foreclosed
as a matter of law from asserting that they paid Plaintiffs all wages due and owing, they
are incorrect. At least one New York Court has reached the same conclusion. In Ahmed
v. Morgans Hotel Grp. Mgmt., LLC, 54 Misc. 3d 1220(A), 55 N.Y.S.3d 691 (Sup. Ct.,
N.Y. Co. 2017), the court granted summary judgment to the defendant based on the § 198
Affirmative Defense where, although the plaintiff had not received the notices required
by the Wage Order, he acknowledged that he had received “$5.00 per hour as his base
wage, and $2.25 in tips per hour to meet the minimum wage in effect at that time.” Jd. at
1220A, 691.

However, the Court does find that, based on the current record, Defendants have

failed to demonstrate that they are entitled to summary judgment based on the § 198

-18-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 19 of 29

Affirmative Defense. With respect to affirmative defenses, the defendant relying upon
them bears “the burden of . . . establishing [them] at trial or on a motion for summary
Judgment.” Black v. Coughlin, 76 F.3d 72, 75 (2d Cir. 1996). In this case, Defendants’
assertions that they paid Plaintiffs the wages that were due and owing and that Plaintiffs
never received less than minimum wage are based on the April 15th Stipulation and, as
the Court has already explained, the April 15th Stipulation is insufficient, standing alone,
to demonstrate that no genuine issue of material fact exists with respect to the facts set
forth therein. Moreover, the Court notes that Plaintiffs’ Amended Complaint expressly
asserts that Defendants forced Plaintiffs to work in jobs that were unrelated to their tipped
jobs while paying them subminimum wages. Discovery on this claim has been stayed,
and neither party has presented the Court with any factual information regarding the
related allegations’ truth or falsity. This Court cannot decide, in a factual vacuum and
based solely on the April 15th Stipulation, that Defendants paid all wages due and owing
when there are clearly outstanding factual issues and legal claims that bear on that
determination. Accordingly, the Court denies Defendants’ request for summary
judgment based on the § 198 Affirmative Defense without prejudice to renewal upon a
more fully developed factual record.

The Court further notes that the existence of a genuine issue of material fact
related to Defendants’ entitlement to the § 198 Affirmative Defense forecloses any
possibility of granting summary judgment in favor of Plaintiffs on the Wage Notice and

Pay Statement Claims. As a result, the Court need not and declines to discuss any further

-19-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 20 of 29

the specific arguments made in support of Plaintiffs’ motion for partial summary
judgment.

V. The Court Declines to Vacate its Earlier Grant of Summary Judgment to
Named Plaintiff Kristin Raymond at this Time

In the August Sth Decision and Order, the Court found in favor of named plaintiff
Kristin Raymond with respect to her Wage Notice Claim against her former employer,
defendant TLC West, LLC. The Court’s holding rested on its determination that “the
record plainly shows that Defendants did not provide Ms. Raymond with a compliant
wage notice on January 1, 2011.” (Dkt. 205 at 30). However, the Court declined to
award damages to Ms. Raymond at that time, noting that “the record is not clear as to the
amount of damages that Ms. Raymond should be awarded.” (Dkt. 205 at 31).

In connection with their motion for partial summary judgment, Defendants ask the
Court to revisit this holding in light of intervening developments. Specifically,
Defendants contend that this Court should defer to the Opinion Letter, which interprets
both § 146-1.3 and 12 N.Y.C.R.R. § 146-2.2 (“§ 146-2.2”) and concludes that “a food
service employer is eligible to claim the tip credit even when they fail to provide written
notice of the tip credit rules provided that the employer can demonstrate compliance with
all other minimum wage requirements and that their employees understood the manner in
which the employer took the tip credit.” (Dkt. 281-4 at 18). Plaintiffs oppose
Defendants’ request that the Court revisit its prior holding, arguing that (1) the doctrine
of law of the case renders the Court’s prior holding binding, and (2) the Opinion Letter is

not entitled to deference.

- 20 -
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 21 of 29

A. The Doctrine of Law of the Case does not Prevent the Court from
Revisiting its Prior Holding

The doctrine of law of the case, pursuant to which the Court “avoid[s]
reconsideration of matters once decided during the course of a single continuing lawsuit,”
is discretionary and “merely expresses the practice of the courts generally to refuse to
reopen what has been decided.” Devilla v. Schriver, 245 F.3d 192, 197 (2d Cir. 2001)
(internal quotations omitted). It does not represent a limit on the Court’s authority, and
the Court remains free to revisit its earlier determinations, particularly in cases of “an
intervening change of controlling law, the availability of new evidence, or the need to
correct a clear error or prevent manifest injustice.” Doe v. New York City Dep’t of Soc.
Servs., 709 F.2d 782, 789 (2d Cir. 1983) (internal quotation omitted).

In this case, the doctrine of law of the case does not prevent the Court from
revisiting its prior holding because new evidence that bears on the issue — namely, the
NYDOL’s purported interpretation of the relevant regulations, as set forth in the Opinion
Letter — is now available. Under these circumstances, the Court finds it appropriate to
consider whether this new evidence ultimately changes its analysis.

B. The Court is not Persuaded, on the Current Record, that the Opinion
Letter Requires Vacating the August 5th Decision and Order

With respect to the Opinion Letter, the parties have focused, in their competing
motions, on whether or not it is entitled to deference by this Court. The Court notes as
an initial matter that it finds the provenance of the Opinion Letter peculiar, to say the
least. As set forth above, the Opinion Letter was obtained through political channels as a

direct attempt to contradict this Court’s prior decision. Defendants have not identified

-21-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 22 of 29

any authority addressing the deference due to a purported agency interpretation under
these highly unusual circumstances, and the Court is not persuaded that the traditional
analysis is applicable where a party has admittedly sought the proffered interpretation
solely because it was unhappy with an earlier judicial decision. Judicial review is a long-
established and important aspect of our government’s separation of powers, and just as it
is inappropriate for the courts to interfere in the functions of the legislative and executive
branches, so too does it seem problematic for a party to invite an executive agency to
intervene in an ongoing litigation. See generally United States v. Windsor, 570 U.S. 744,
762 (2013) (noting that “[i]t is emphatically the province and duty of the judicial
department to say what the law is”).

Having reviewed the Opinion Letter in detail, the Court determines, for the
reasons set forth below, that, on its own terms, it does not require vacatur of the August
Sth Decision and Order. Accordingly, the Court need not and does not reach the issue of
whether the Opinion Letter is entitled to deference, a matter on which courts in this
Circuit have disagreed. Compare Carvente-Avila, 2016 WL 3221141, at *2 (“The
NYDOL Letter is entitled to deference”) with Marin, 2017 WL 4950009, at *32 (“The
Court declines to defer to the conclusion reached by Mr. Ben-Amotz”).

In order to properly analyze the impact of the Opinion Letter, it is first necessary
to identify what the August Sth Decision and Order did and did not hold. Federal Rule of
Civil Procedure 56(g) expressly provides this Court with the authority, where it
determines that a party is not entitled to all the relief sought in a motion for summary

judgment, to nonetheless “enter an order stating any material fact . . . that is not genuinely

-22-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 23 of 29

in dispute and treating the fact as established in the case.” Fed. R. Civ. P. 56(g). In this
case, the factual determination made in the August 5th Decision and Order was that
“Defendants did not provide Ms. Raymond with a compliant wage notice [pursuant to
§ 146-2.2] on January 1, 2011.” (Dkt. 205 at 30). The notice at issue, in contravention of
§ 146-2.2, did not state that Ms. Raymond’s employer intended to take a tip credit, nor
did it state the amount of the tip credit to be taken or that Ms. Raymond was entitled to
makeup pay if she did not earn enough in tips to bring her rate of pay up to the basic
minimum hourly wage. (/d.). Accordingly, the Court found that “no reasonable jury
could conclude that this wage notice complied with the Wage Order.” (/d.). In short, the
August Sth Decision and Order concluded, as a matter of law, that Defendants had failed
to comply with the requirements of § 146-2.2.

The Opinion Letter does not change this conclusion, nor could it do so. The plain
language of § 146-2.2 requires that certain information be provided in the wage notice,
and that information was not provided in this case. Instead, the Opinion Letter is
concerned solely with the appropriate remedy for a violation of § 146-2.2 — namely,
whether an employer who fails to provide a compliant wage notice but is otherwise able
to “demonstrate compliance with all of the minimum wage requirements and that their
employees understood the manner in which the employer took the tip credit” (Dkt. 281-4
at 18) is solely subject to civil penalties under Section 218 of the NYLL or also loses the
right to claim the tip credit. On its face, then, the Opinion Letter presupposes that the
employer in question failed to comply with the written notification requirements of

§ 146-2.2. Accordingly, nothing in the Opinion Letter requires the Court to revisit its

-23-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 24 of 29

conclusion in the August Sth Decision and Order that Defendants failed to provide Ms.
Raymond with a wage notice that complied with the Wage Order.

With respect to the issue of the appropriate remedy for Defendants’ violation of
the Wage Order, the Court did state in the August 5th Decision and Order that
“Defendants were not entitled to take a tip credit” due to the failure to provide a
compliant wage notice. (Dkt. 205 at 31). The Court ultimately declined to reach the
issue of damages, explaining that it could not determine from the record the amount of
damages owed to Ms. Raymond. (J/d.). As such, the Court’s statement regarding
Defendants’ entitlement to take the tip credit amounted to dicta, inasmuch as it was not
necessary to the result ultimately reached by the Court. See In re Bean, 252 F.3d 113,
118 (2d Cir. 2001) (findings are dicta if they were “not necessary to decide the issue
before the district court”). There is no need for the Court to reopen or vacate its prior
order based solely on dicta found therein.

As discussed at length above, there are factual issues in this case regarding the
applicability of the § 198 Affirmative Defense that preclude entry of summary judgment
on behalf of the plaintiffs. Those same factual issues prevent the Court from reaching the
issues of damages at this time. Of course, “dicta... is not binding as the law of the
case,” Ryan v. Allen, 992 F. Supp. 152, 156 (N.D.N.Y. 1998), and, if and when the issue
of damages does become ripe, Defendants may, at that time, argue that loss of the tip
credit is not an available remedy for their violation of the wage notice requirements set

forth in § 146-2.2. That time is not now, and so there is no reason for the Court to vacate

-24-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 25 of 29

the August Sth Decision and Order, or to decide whether the Opinion Letter is entitled to
deference as to the damages Ms. Raymond may ultimately recover.

C. Defendants have not Established that their Employees were Otherwise
Aware of the Tip Credit Rules

For the reasons discussed above, the Court declines to vacate the August Sth
Decision and Order at this time. However, even if the Court was inclined to grant
deference to the Opinion Letter and find that an employer may claim the tip credit where
it fails to provide a written wage notice as provided in § 146-2.2 but is otherwise able to
demonstrate compliance with all of the minimum wage requirements and its employees’
understanding of the manner in which the employer took the tip credit, the Court still
could not grant summary judgment in Defendants’ favor.

Defendants argue that they are entitled to summary judgment in their favor with
respect to the Wage Notice Claims because Plaintiffs had actual knowledge that
Defendants were taking a tip credit from the minimum wage for employees working in
tipped positions. (Dkt. 281-6 at 22). However, the factual basis for this argument is the
April 15th Stipulation and, as discussed at length above, the Court rejects Defendants’
contention that the April 15th Stipulation is sufficient to establish the truth of the facts set
forth therein. Moreover, the Court finds that its resolution of Defendants’ eligibility for
the tip credit turns on the disputed fact of whether or not Plaintiffs, in fact, had actual
knowledge of the tip credit rules. In other words, while Plaintiffs may have agreed not
to contend that their actual knowledge is a material fact in resolving the instant motions,

the Court made no such agreement, and the Court does indeed find that Plaintiffs’ actual

-25-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 26 of 29

knowledge is highly relevant. Accordingly, the Court would not grant summary
judgment to Defendants on the Wage Notice claims at this time even were it to adopt the
analysis set forth in the Opinion Letter.

VI. Defendants’ Remaining Arguments Related to the Pay Statement and Wage
Notice Claims Lack Merit

In addition to the arguments considered by the Court above, Defendants have also
argued that they are entitled to summary judgment because they provided Plaintiffs with
compliant wage notices and pay statements, and have further purported to incorporate by
reference all the other arguments made in their initial motion for partial summary
judgment. Defendants’ remaining arguments represent nothing more than a regurgitation
of arguments that were squarely rejected by this Court in the August 5th Decision and
Order and its denial of the Motion for Reconsideration. Defendants have offered no
reason, such as new evidence or an intervening change in controlling law, as to why the
Court should revisit those issues at this time. Defendants are advised that any further
attempts to reassert already rejected arguments based on nothing more than counsel’s
disagreement with the Court’s analysis will be summarily denied.

VII. Defendants’ Motion for Summary Judgment on Plaintiffs’ FLSA Claims is
Denied

In addition to seeking summary judgment on the Pay Statement and Wage Notice
Claims, Defendants ask the Court for summary judgment on Plaintiffs’ FLSA claims.
The Court’s Order granting the parties permission to file additional dispositive motions
was limited to the Pay Statement Claims and the Wage Notice Claims. (See Dkts. 273,

274). The Court notes that discovery has been stayed as to all claims other than the Pay

- 26 -
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 27 of 29

Statement Claims and the Wage Notice Claims. (See Dkt. 241). As such, the Court finds
that it would be inappropriate and premature to consider summary judgment as to
Plaintiffs’ FLSA claims.
VIII. The Court Declines to Reach the Issue of Defendants’ Status as Employers

In connection with their motion for summary judgment, Plaintiffs have asked the
Court to determine, as a matter of law, that all of the Defendants should jointly be
considered Plaintiffs’ employers. (See Dkt. 286 at 13-14). Defendants oppose this
request, contending that genuine issues of material fact exist with respect to the status of
all Defendants except TLC West, LLC and TLC Central, LLC. For the reasons discussed
below, the Court finds that summary judgment on this point is not warranted at this time.

As a threshold matter, the Court notes that Plaintiffs have analyzed the issue of
whether Defendants are liable as Plaintiffs’ employers solely under federal law, but the
Second Circuit has expressly noted that the standard for employer status under the NYLL
and the standard for employer status under the FLSA are not necessarily the same. See
Irizarry v. Catsimatidis, 722 F.3d 99, 117 (2d Cir. 2013) (‘Plaintiffs assert that the tests
for ‘employer’ status are the same under the FLSA and the NYLL, but this question has
not been answered by the New York Court of Appeals.”); cf Hart v. Rick’s Cabaret
Int’l, Inc., 967 F. Supp. 2d 901, 923 (S.D.N.Y. 2013) (“the New York Court of Appeals
has articulated a standard for determining whether a worker is an employee... under the
NYLL that is phrased differently than the FLSA inquiry”). Plaintiffs’ moving papers do
not discuss or consider this issue, nor do they present any argument as to why the Court

should apply a federal standard in determining whether Defendants qualified as

-27-
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 28 of 29

employers under New York law. Because they have not analyzed the issue of
Defendants’ employer status under New York law, Plaintiffs have not met their burden of
demonstrating that all Defendants should be considered their employers with respect to
their NYLL claims.

Moreover, and as discussed above, the Court did not grant the parties permission
to file dispositive motions related to Plaintiffs’ FLSA claims, nor has discovery related to
these claims occurred. It would, therefore, be premature for the Court to determine based
on the current record that all Defendants qualified as Plaintiffs’ employers for FLSA
purposes. Accordingly, Plaintiffs’ request for summary judgment regarding Defendants’
status as employers is denied without prejudice to renewal upon a more complete record.

CONCLUSION

For the foregoing reasons, Defendants’ motion for partial summary judgment
(Dkt. 281) is denied, but the Court amends its prior determination that Defendants are not
entitled to the § 198 Affirmative Defense as a matter of law. As noted above, the § 198
Affirmative Defense is applicable to Plaintiffs’ Wage Notice and Pay Statement Claims,
but fact issues preclude summary judgment in favor of Defendants on that affirmative
defense. In addition, Plaintiffs’ motion for partial summary judgment (Dkt. 285) is
denied.

The parties are reminded that the Court’s prior order prohibiting the filing of
dispositive motions prior to the completion of fact discovery without the Court’s

permission (Dkt. 231) remains in effect.

- 28 -
Case 6:13-cv-06455-EAW-MWP Document 321 Filed 03/13/18 Page 29 of 29

For reasons of judicial efficacy, the Court orders that any further stipulations

between the parties in this case requiring Court approval must be submitted to the

heh WD

ELI LIZABETHA A. WOLFORD
ie aie h District Judge

undersigned.

SO ORDERED.

Dated: March 12, 2018
Rochester, New York

-29 -
